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                      EXHIBIT A

                    Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                    )
In re:                                                              )     Chapter 11
                                                                    )
YELLOW CORPORATION, et al., 1                                       )     Case No. 23-11069 (CTG)
                                                                    )
                           Debtors.                                 )     (Jointly Administered)
                                                                    )     Re: Docket No. ____

        ORDER PURSUANT TO SECTIONS 327(e), 328(a), AND 330 OF THE
    BANKRUPTCY CODE AUTHORIZING THE EMPLOYMENT AND RETENTION
        OF KASOWITZ BENSON TORRES LLP, AS SPECIAL LITIGATION
      COUNSEL TO THE DEBTORS EFFECTIVE AS OF THE PETITION DATE

         Upon the application (the “Application”) 2 of the above-captioned debtors and debtors in

possession (the “Debtors”) seeking authorization to retain and employ Kasowitz Benson Torres

LLP (the “Firm”) as special litigation counsel in these chapter 11 cases; and the Statement Under

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Statement”), and upon the

declaration of Marc E. Kasowitz in support of the Application (the “Kasowitz Declaration”),

each annexed to the Application as Exhibit B and Exhibit C, respectively; and the Court being

satisfied based on the representations made in the Application, the Kasowitz Declaration, and the

Statement that the Firm neither represents nor holds any interest adverse to the Debtors or to the

estates with respect to the matters on which the Firm is to be employed, except as otherwise set

forth in the Kasowitz Declaration or the Application, and that the employment of the Firm as

special litigation counsel to the Debtors is necessary and in the best interests of the Debtors and

their estates and creditors; and it appearing that the Court has jurisdiction to consider the

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     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
     place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
     Overland Park, Kansas 66211.
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    Capitalized terms used but not defined herein shall have the meanings set forth in the Application.
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Application; and it appearing that due notice of the Application has been given and no further

notice need be given; and upon the proceedings before the Court; and after due deliberation and

good and sufficient cause appearing therefor;

       IT IS HEREBY ORDERED THAT:

       1.       The Application is granted.

       2.       Pursuant to sections 327(e), 328(a), and 330 of the Bankruptcy Code, the Debtors

are authorized to retain and employ the Firm as special litigation counsel in these chapter 11

cases, effective as of the Petition Date, pursuant to the terms set forth in the Application.

       3.       The Firm shall be compensated for legal services rendered to the Debtors and

reasonable expenses incurred in connection therewith in accordance with the Bankruptcy Code,

the Bankruptcy Rules, the Local Rules, and any other orders of this Court, as set forth in the

Application.

       4.       The Firm shall apply for compensation from the Debtors for professional services

rendered and reimbursement of expenses incurred in connection with its representation of the

Debtors in compliance with sections 328, 330, and 331 of the Bankruptcy Code (as applicable)

and applicable provisions of the

       5.       The Firm shall make a reasonable effort to comply with the U.S. Trustee’s

requests for information and additional disclosures as set forth in the U.S. Trustee Guidelines in

connection with the Application and any fee application to be filed by the Firm in these chapter

11 cases.

       6.       The Debtors and the Firm are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.




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       7.      The Court shall retain jurisdiction over any disputes that may arise in connection

with this Order.




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